
Lancer Acupuncture, P.C., a/a/o Aleksandr Muzis, Plaintiff-Appellant, -
againstAmica Mutual Ins. Co., Defendant-Respondent.



Plaintiff, as limited by its brief, appeals from so much of an order of the Civil Court of the City of New York, New York County (Gerald Lebovits, J.), entered April 16, 2015, which, upon reargument, adhered to its prior order granting defendant's motion for summary judgment dismissing the complaint.




Per Curiam.
Order (Gerald Lebovits, J.), entered April 16, 2015, modified by reinstating plaintiff's claim for first-party no-fault benefits billed under CPT code 99302; as modified, order affirmed, with $10 costs.
Defendant's documentary submissions failed to eliminate all triable issues as to whether it properly denied plaintiff's no-fault claim for $54.74, billed under CPT code 99203 (initial evaluation), thus precluding summary judgment dismissing this claim (see Easy Care Acupuncture, P.C. v Nationwide Gen. Ins. Co., 50 Misc 3d 127[A], 2015 NY Slip Op 51849[U][App Term, 1st Dept. 2015]).
In the absence of any prejudice, Civil Court properly exercised its discretion under CPLR 2001, to allow defendant to correct the defect in form of the IME report of its acupuncturist/chiropractor.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 13, 2016










